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                              EXHIBIT M


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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UNSECURED BONDS: THE
AS EFFECTIVE AND MOST
EFFICIENT PRETRIAL
RELEASE OPTION




                         Michael R. Jones
                         Washington, D.C.
                          October 2013
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STUDY SUMMARY
This study was done to provide judicial officers,        • Unsecured bonds are as effective at “fugitive-re-
prosecutors, defense attorneys, sheriffs, jail admin-      turn” for defendants who have failed to appear
istrators, county commissioners, pretrial services         as are secured bonds.
program directors, and other decision-makers in          • Many defendants are incarcerated for the pre-
Colorado as well as in other states empirical evi-         trial duration of their case and then released to
dence that can directly inform their pretrial release      the community upon case disposition.
and detention policies and practices. Specifically,      • Jurisdictions can make data-guided changes to
the simultaneous influence of unsecured bonds              local pretrial case processing that would achieve
(personal recognizance bonds with a monetary               their desired public safety and court appearance
amount set) and of secured bonds (surety and cash          results while reserving more jail beds for un-
bonds) on the three most important pretrial out-           manageably high risk defendants and sentenced
comes: (1) public safety; (2) court appearance; and        offenders.
(3) jail bed use, were compared. The study, using        • Judicial officers now have data and law to sup-
data from over 1,900 defendants from 10 Colorado           port changing their bail setting practices to
counties, found the following:                             maintain their effectiveness while increasing
                                                           their efficiency.
For defendants who were lower, moderate, or high-
er risk:                                                This study provides empirical evidence about the
                                                        effectiveness of secured and unsecured bonds.
 • Unsecured bonds are as effective at achieving        Findings support judicial officers changing their
   public safety as are secured bonds.                  practices to use more unsecured releases, to include
 • Unsecured bonds are as effective at achieving        unsecured bonds if currently permitted by law, to
   court appearance as are secured bonds.               achieve the same public safety and court appear-
 • Unsecured bonds free up more jail beds than          ance rates while using far fewer jail beds. These un-
   do secured bonds because: (a) more defendants        secured bonds could be used in conjunction with an
   with unsecured bonds post their bonds; and (b)       individualized bond setting hearing.
   defendants with unsecured bonds have faster
   release-from-jail times.
 • Higher monetary amounts of secured bonds are
   associated with more pretrial jail bed use but not
   increased court appearance rates.




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INTRODUCTION
Multiple criminal justice and government deci-          Researchers have recently attempted to determine
sion-makers have a role in the decision to release      to what extent, if any, secured monetary forms of
or detain defendants on pretrial status, either at      pretrial release (e.g., surety or cash bonds) improve
the policy level or on a case-by case basis. Jail ad-   court appearance and public safety over non-mon-
ministrators are commonly granted authority by          etary or unsecured forms of pretrial release (e.g.,
the court to release many defendants on their own       recognizance bonds). Unfortunately, for the reasons
recognizance or through the use of a money bond         that Cohen and Kyckelhahn (2010) and Bechtel,
schedule, and those administrators are responsible      Clark, Jones, and Levin (2012) have recently ex-
for housing defendants who are not released. Pretri-    plained, researchers have not had access to data that
al services staff members perform risk assessment       has allowed them to determine simultaneously the
and information gathering, and provide the results      effect of different bond types on the three most im-
and any release-condition recommendations to the        portant pretrial outcomes: (1) public safety; (2) court
court. Prosecutors and defense attorneys at pretrial    appearance; and (3) pretrial release and jail bed use.
hearings often request certain release conditions,      To summarize, previous research has either: (a)
including substance testing, electronic monitor-        had data or methodological limitations that limit
ing, or changes to a previously set monetary bond       the generalizability of the findings to other jurisdic-
amount, based on their perception of the defen-         tions (see, for example, Morris, 2013; Krahl & New
dant’s pretrial risk to court appearance or public      Direction Strategies, 2011); (b) has not sufficiently
safety. Judges make the final decisions about the       accounted for possible alternate explanations of the
types of bond and conditions of bond, including fi-     findings (see, for example, Block, 2005); and/or (c)
nancial and non-financial release conditions. Coun-     was limited to measuring the effect of various forms
ty commissioners or state legislators fund the staff    of pretrial release on a singular outcome - court ap-
and court and jail facilities that comprise the pre-    pearance, but not on both of the other two impor-
trial system and/or pass laws, but often do so with     tant pretrial outcomes - public safety and jail bed use
little or no evaluative feedback about the system’s     (see, for example, Helland & Tabarrok, 2004; Mor-
effectiveness or efficiency.                            ris, 2013). Indeed, as Bechtel et al. (2012) explain,
                                                        the optimal outcome for any pretrial justice system
Whether in the role of making daily, case-by-case       from both an effectiveness (justice system goals) and
pretrial release or detention decisions or policy-      efficiency (resource management) perspective is to:
level funding decisions, many of these criminal
justice decision-makers have had to do so without          (1) Maximize public safety
scientific evidence to help guide their decisions. As           and
a result, they may assume that the current pretrial        (2) Maximize court appearance
justice process meets their standards for effective-            while
ness and efficiency, and that the money bail system        (3) Maximizing release from custody.
motivates defendants to return to court or to re-
frain from criminal activity upon release from jail     Achieving only one or two of these pretrial outcomes
pending the disposition of their case.                  without or at the expense of realizing the remain-




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der would be less optimal than achieving all three                    Furthermore, due to Colorado statute’s require-
simultaneously. Indeed, Osborne and Hutchinson                        ment of financial conditions of release, this study is
(2004) make a compelling case for governments                         an evaluation of the effect of different types of mon-
to maximize results while expending the minimal                       etary bonds on public safety, court appearance, and
public resources to achieve those results.                            jail bed use. As described in more detail later, some
                                                                      of these monetary bonds in Colorado require the
The purpose of this study is to overcome some of                      defendant to post the entire monetary amount in
the limitations of previous research and provide in-                  cash or some portion thereof through a commercial
formation to pretrial release decision-makers and                     bail bondsman prior to leaving jail custody, where-
criminal justice funding decision-makers that will                    as other monetary bonds do not require any money
enable them to accomplish a win-win situation: to                     to be posted prior to release.1
achieve their desired public safety and court ap-
pearance outcomes while most efficiently using                        After each statistical analysis, a brief explanation
their costly jail resources. Because the study uses                   of the meaning of the findings is provided. Practi-
data from multiple Colorado counties, the results                     cal implications of this study for pretrial release
are generalizable throughout Colorado. Factors                        decision-making and policy-making are discussed
that may affect the extent to which the results are                   in the final section.
generalizable outside of Colorado are addressed
later in the paper.




1 This study does not evaluate the effectiveness of commercial bail bonding in achieving court appearance results, nor does it evaluate
   the effectiveness of pretrial services program supervision in achieving certain court appearance or public safety results. Rather, the
   focus is on outcomes associated with various forms of monetary bonds set by the court.




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METHOD
Data for this study came from the dataset used to de-                         dom sampling” selection schedule to minimize bias
velop Colorado’s 12-item empirically-derived pretri-                          in selecting defendants and to enhance the general-
al risk assessment instrument, the Colorado Pretrial                          izability of the findings. For example, each jurisdic-
Assessment Tool (CPAT; Pretrial Justice Institute &                           tion collected data at an interval of every 2nd, 4th, or
JFA Institute, 2012). The dataset has hundreds of                             7th defendant who was booked into the jail on new
case processing and outcome variables collected on                            charges. Over 80% of the state’s population resides
1,970 defendants booked into 10 Colorado county                               in the 10 counties that participated: Adams, Arapa-
jails over a 16-month period.2 Each local jurisdiction                        hoe, Boulder, Denver, Douglas, El Paso, Jefferson,
collected data on a pre-determined, “systematic ran-                          Larimer, Mesa, and Weld.



DEFENDANTS WERE ASSESSED FOR THEIR PRETRIAL RISK, AND NEARLY 70% SCORED IN THE LOWER TWO OF
FOUR RISK CATEGORIES.
Based on the CPAT’s scoring procedures, 1,970 de-                             used in the analyses was 1,919 defendants, with
fendants in the dataset were assigned a CPAT risk                             1,309 (68%) of them having been released on pre-
score, ranging from 0 (lower risk) to 82 (higher                              trial status prior to case disposition. Table 1 shows
risk), and to a corresponding risk category, ranging                          the percentage of released defendants and the pub-
from 1 (lower risk) to 4 (higher risk). Some relevant                         lic safety and court appearance success rates associ-
data were missing for 51 defendants, so they were                             ated with each risk category.
removed from all analyses. Thus, the final sample

Table 1. Average Risk Score, Percent and Number of Defendants, and Public Safety and Court Appearance Rates by
Released Defendants’ Risk Category


  CPAT PRETRIAL             CPAT RISK           AVERAGE CPAT            PERCENT (AND              PUBLIC SAFETY                 COURT
 RISK CATEGORY            SCORE RANGE            RISK SCORE              NUMBER) OF                   RATEa                APPEARANCE RATEb
                                                                         DEFENDANTS
      1 (lower)               0 to 17                    8                 20% (265)              92% (243/265)                95% (252/265)
          2                   18 to 37                  28                 49% (642)               81% (517/642)               86% (549/642)
          3                  38 to 50                   44                 23% (295)              70% (205/295)                78% (231/295)
     4 (higher)              51 to 82                   57                  8% (107)               59% (63/107)                 51% (55/107)
  Average/Total               0 to 82                   30               100% (1,309)           79% (1,028/1,309)            83% (1,087/1,309)

 a. On the CPAT and for this study, the public safety rate is defined as the percentage of defendants who did not have a prosecutorial filing in
    court for any new felony, misdemeanor, traffic, municipal, or petty offense that allegedly occurred during the pretrial release time period. Thus,
    public safety is defined very broadly as any new filing and is not limited to physical harm against a person or to felony or misdemeanor charges.
 b. The court appearance rate is defined as the percentage of defendants who attended all of their court hearings during their pretrial release (i.e.,
    they did not have any notations of failure to appear indicated in the Colorado Judicial Branch’s statewide database).



2 Risk assessment data were collected over the 16-month period from February 2008 to May 2009, and pretrial outcome data were
  collected after cases closed up until December 2010, thus allowing at least 19 months for all cases to close after defendants were
  booked into jail because of new charges. Ninety-nine percent (99%) of the cases closed within the minimum 19-month time period.




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Summary of Findings                                                        ty and court appearance. Nearly 70% of defendants
The CPAT effectively sorts defendants into one of                          scored in the lower two risk categories. These risk
four risk categories, with each category having dif-                       categories can be used when examining the impact
ferent rates for the desired outcomes of public safe-                      of different forms of money bonds on public safety,
                                                                           court appearance, and jail bed use.



DEFENDANTS RECEIVED EITHER UNSECURED OR SECURED BONDS, AND WERE SEPARATED INTO FOUR GROUPS
TO ENABLE ANALYSIS OF BOND-TYPE COMPARISONS.
Table 2 shows the percentage of released defen-                            categories. Statutorily, all bonds in Colorado must
dants who received unsecured or secured (surety                            have a financial condition.3
or cash) money bonds within each of the four risk

Table 2: Percent and Number of Released Defendants by Bond Type and Risk Category

                                                                                        BOND TYPE
      PRETRIAL RISK CATEGORY
                                                            UNSECUREDa                                           SECUREDb
                1 (lower)                                   52% (137/265)                                      48% (128/265)
                     2                                      32% (208/642)                                     68% (434/642)
                     3                                       15% (45/295)                                     85% (250/295)
               4 (higher)                                    13% (14/107)                                      87% (93/107)
                Average                                    31% (404/1,309)                                   69% (905/1,309)
 a. Unsecured bonds do not require defendants to post money prior to their pretrial release from jail. While Colorado law uses the term “personal
    recognizance,” the term “unsecured” is used in this paper to distinguish these bonds from “pure” personal recognizance bonds (or “own
    recognizance” bonds), as they are called in many other states. Financial conditions are rarely allowed or used with “pure” or “own” recogni-
    zance bonds.
 b. Secured bonds require defendants to post some amount of money prior to their pretrial release from jail.4




3 Unsecured bonds in Colorado are known in statute as personal recognizance bonds and although they are required to have a financial
  condition in some monetary amount, they do not require the defendant to post any money with the court prior to pretrial release
  from jail. If the defendant fails to appear, the court can hold the defendant liable for the full amount of the bond. The court can also
  require the signature of a co-signor on unsecured bonds prior to the defendant’s release from jail. The co-signor is typically a family
  member who promises the court that he or she will assist the defendant in appearing in court and who may be held liable for the
  full monetary amount if the defendant fails to appear. In this study, as noted above, these personal recognizance bonds are called
  “unsecured” bonds because they have a financial condition for which the defendant or co-signor could be fully liable. The unsecured
  bond group is for the most part a “defendant-only (with no co-signor) unsecured” group because 344 (85%) of the 404 unsecured
  bonds did not require a co-signor.

4 Secured bonds in Colorado require money to be posted with the court on the defendant’s behalf prior to pretrial release, and can
   be in the form of cash, surety, or property. If the defendant fails to appear, the court can hold the defendant or a commercial bail
   bondsman (for a surety bond) liable for the full amount of the bond. The secured bond group is for the most part a “surety bond”
   group because 849 (94%) of the 905 secured bond defendants posted a surety bond rather than a cash bond. Surety bonds were the
   most prevalent form of bond set by the court during the time this study’s data were collected. Property bonds are very rarely used in
   Colorado, and were not used for any of the defendants in this study.




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Summary of Findings                                                      al risk, accounts for the observed results. Specifical-
Data show that judicial officers set both unsecured                      ly, the stratification was done because in the total
and secured bonds for defendants in each of the                          sample there was a relatively higher proportion of
four risk groups. All of these bonds carry the pos-                      lower risk defendants in the unsecured bond group
sibility that the court could hold the defendant or                      and a relatively higher proportion of higher risk de-
other party (i.e., co-signor or bail bondsman) le-                       fendants in the secured bond group. This pattern of
gally liable for the bond’s full monetary amount if                      data is found across most criminal justice systems
the defendant fails to appear in court. For surety                       nationwide. In addition, the total sample size of de-
bonds, defendants are still liable for the full mon-                     fendants in this study and in the four separate risk
etary amount, albeit indirectly. If a defendant re-                      groups is large enough to detect statistical differ-
leased on surety bond fails to appear, the court,                        ences between the two bond-type groups if differ-
within the confines of statute, may hold the bail                        ences indeed do exist (see Cohen, 1988).5
bondsman liable for the full monetary amount. If
so, then the bail bondsman may offset this expense                       Moreover, the Colorado jurisdictions that have
by collecting the full monetary amount of the bond                       already implemented the CPAT or that will be
pursuant to the contract with the defendant or the                       implementing it in the near future use the CPAT’s
defendant’s family member or friend, and turn over                       four-category risk scheme to guide daily pretrial re-
the full bond amount to the court.                                       lease and detention decision-making, so using the
                                                                         CPAT’s risk scheme in this study enables the study
Placing defendants into one of four risk categories                      to provide decision-makers with findings that di-
stratifies defendants based on their overall level of                    rectly inform their daily practice.
risk, thus helping increase the chances that defen-
dants’ bond type, rather than their degree of pretri-




5 The social science conventional standard of 0.05 for statistical significance testing was used throughout this study. Statistical signifi-
   cance at the 0.05 level means that we can be at least 95% confident that the observed results are not due to chance. To statistically
   determine that defendants with unsecured bonds were similar in pretrial risk to defendants with secured bonds, stratification, or the
   separation of the defendants into incremental groups, was done. Separate t-tests (tests used to determine if two groups have differ-
   ent averages on a measure) were performed on the four pretrial risk groups. These analyses showed that the average risk score for
   defendants with unsecured bonds was not statistically significantly different than the average risk score for defendants with secured
   bonds in risk categories 1, 3, and 4 (all p > 0.19). For risk category 2, the average score for defendants with unsecured bonds (27)
   was two points less than the average score for defendants with secured bonds (29) (p < .001). However, given that there was no sig-
   nificant difference for the other three risk categories, including the categories both below (i.e., category 1) and above (i.e., categories
   3 and 4) category 2, and because the two-point score difference was no larger than the non-significant score difference in the other
   three risk categories, the statistically significant difference observed in category 2 is determined not to be practically significant.
   That is, the difference is likely not meaningful enough to be useful for purposes of informing practice. Additionally, there were no
   significant differences in the percentages of defendants who were ordered to pretrial supervision among the four risk groups (rang-
   ing from 48% to 50% for each of the four groups), indicating that pretrial supervision likely did not interfere with the effects of bond
   type on the outcome measures.




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GOALS OF THE STUDY
This study evaluates the extent to which, if at all,   For the following analyses, defendants were sorted
one type of money bond (unsecured) is associated       into two groups depending on the type of money
with better pretrial outcomes than is the other type   bond they received – unsecured or secured. Defen-
of money bond (secured, in the form of cash or         dants’ performance on the three pretrial outcomes
surety) while also accounting for jail bed use. Be-    most important to pretrial decision-makers - pub-
cause all bonds in Colorado have a monetary condi-     lic safety, court appearance, and jail bed use - was
tion, this study was not able to test whether bonds    examined. Defendants in the two bond-type groups
with no financial condition could have achieved the    were compared separately within each of the four
same public safety or court appearance outcomes        pretrial risk categories to mitigate the influence of
as did bonds with a financial condition.               defendants’ risk levels on the observed outcomes.




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RESULTS
UNSECURED BONDS ARE AS EFFECTIVE AS SECURED BONDS AT ACHIEVING PUBLIC SAFETY.
Table 3 shows the percentage of defendants who                                  Chi-square tests6 revealed that there were no statis-
were not charged with a new crime during pretrial                               tically significant differences in defendants’ public
release (i.e., the public safety rate) for the unse-                            safety outcomes for the two different types of bond
cured and secured bond groups in each of the four                               in each of the four risk categories. This finding also
risk categories.                                                                holds when only person crimes are analyzed. That
                                                                                is, defendants from both bond-type groups did not
Table 3: Public Safety Outcomes by Bond Type and Risk                           significantly differ from one another in their rate of
Category                                                                        receiving new charges for alleged crimes against a
                                                                                person while on pretrial release (p > 0.65).
   PRETRIAL                       PUBLIC SAFETY RATE
     RISK                                                                       Summary of Findings
  CATEGORY           UNSECURED BOND                  SECURED BOND
                                                                                Whether released defendants are higher or lower
  1 (lower)+             93% (128/137)                90% (115/128)             risk or in-between, unsecured bonds offer the same
       2+                84% (174/208)                79% (343/434)             public safety benefit as do secured bonds. This
                                                                                finding is expected because although defendants
       3+                 69% (31/45)                 70% (174/250)             can have their bond revoked if they receive a new
  4 (higher)    +                         *
                           64% (9/14)                  58% (54/93)              charge while on pretrial release, they legally can-
  Average**              85% (342/404)                76% (686/905)             not be ordered to forfeit any amount of money or
                                                                                property under any bond type. Thus, the financial
  + All statistical comparisons showed no statistically significant differ-
     ences. All p > 0.16.                                                       condition of an unsecured or secured bond cannot
  * The 64% observed in this cell is based on a small sample size (n=14)       legally have an impact on defendants’ criminal be-
    and thus should be interpreted with caution. For example, if one
    more defendant in the unsecured bond group had no new charges,              havior. This study’s failure to find a public safety
    the percentage would increase to 71%. If one more of these defen-           benefit for one bond type over another is consistent
    dants had a new charge, the percentage would decrease to 57%.
  ** The public safety rate for all unsecured bond defendants was not
                                                                                with previous research (Helland & Tabarrok, 2004;
      compared to the rate for all secured bond defendants because that         Morris, 2013).
      analysis would fail to control for defendants’ degree of pretrial risk.




6 The Chi-square statistic tests the degree of agreement between observed data and the data expected under a certain hypothesis. It
   can be used to compare the differences in frequencies on a measure between two groups.




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UNSECURED BONDS ARE AS EFFECTIVE AS SECURED BONDS AT ACHIEVING COURT APPEARANCE.
Table 4 shows the percentage of defendants who                               Chi-square tests revealed that there were no statis-
made all of their court appearances during pretri-                           tically significant differences in defendants’ court
al release (i.e., the court appearance rate) for the                         appearance outcomes for the two different types of
unsecured and secured bond groups in each of the                             bond in each of the four risk categories.
four risk categories.
                                                                             Summary of Findings
Table 4: Court Appearance Outcomes by Bond Type and
                                                                             Whether released defendants are higher or lower
Risk Category
                                                                             risk or in-between, unsecured bonds offer decision-
                                                                             makers the same likelihood of court appearance as
  PRETRIAL                  COURT APPEARANCE RATE                            do secured bonds. The lack of benefit from using one
    RISK                UNSECURED                                            financial bond type versus another is not surprising
 CATEGORY                                        SECURED BOND
                          BOND                                               given that both bond types carry the potential for
     1 (lower)+        97% (133/137)               93% (119/128)             the defendant to lose money for failing to appear.
        2+             87% (181/208)              85% (368/434)
        3 +
                        80% (36/45)               78% (195/250)
 4 (higher)+            43% (6/14)*                 53% (49/93)
 Average**            88% (356/404)                81% (731/905)
 +
  All statistical comparisons showed no statistically significant differ-
   ences. All p > 0.12.
* The 43% observed in this cell is based on a small sample size
   (n=14) and thus should be interpreted with caution. For example,
   if one more defendant in the unsecured bond group made all
   court appearances, the percentage would increase to 50%. If
   one more of these defendants had a failure to appear, the per-
   centage would decrease to 36%.
** The court appearance rate for all unsecured bond defendants
   was not compared to the rate for all secured bond defendants
   because that analysis would fail to control for defendants’ risk.




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UNSECURED BONDS FREE UP MORE JAIL BEDS THAN DO SECURED BONDS BECAUSE MORE DEFENDANTS WITH
UNSECURED BONDS POST THEIR BONDS.
Table 5 shows the percentage of defendants who                             Chi-square tests revealed that the release rates for
were released from jail on pretrial status for the                         unsecured bond defendants were statistically signifi-
unsecured and secured bond groups in each of the                           cantly higher than the release rates for secured bond
four risk categories.7                                                     defendants for all four of the pretrial risk categories.

Table 5: Pretrial Release Rates by Bond Type and Risk                      The findings shown in Table 5 are illustrated in
Category                                                                   Figure 1.

                                      RELEASE RATE+                        Figure 1: Pretrial Release Rates by Bond Type and Risk
 PRETRIAL RISK                                                             Category
  CATEGORY                UNSECURED
                                                  SECURED BOND
                            BOND
                                                                                                                 100                95%         96%




                                                                                PERCENT OF DEFENDANTS RELEASED
                                                                                                                        93%
      1 (lower) +      93% (137/147)             83% (128/155)                                                                                              88%
                                                                                                                              83%
          2+
                       95% (208/220)             65% (434/669)
                                                                                                                 75
          3+
                       96% (45/47)               54% (250/464)                                                                            65%

      4 (higher)   +
                       88% (14/16)*              46% (93/201)                                                                                         54%
                                                                                                                                                                  46%
                                                                                                                 50
      Average**        94% (404/430)             61% (905/1,489)
  +
     ll statistical comparisons were statistically significant. All p <
    A
    0.006.
 * The 88% observed in this cell is based on a small sample size (n=16)                                          25
    and thus should be interpreted with caution. For example, if one
    more defendant in the unsecured bond group were released, the
    percentage would increase to 94%. If one more of these defen-
    dants were not released, the percentage would decrease to 81%.                                                0
 ** The release rate for all unsecured bond defendants was not com-                                                       1         2        3      4
    pared to the rate for all secured bond defendants because that
    analysis would fail to control for defendants’ risk.                                                                      PRETRIAL RISK CATEGORY
                                                                                                                               UNSECURED
                                                                                                                               SECURED




7 The number of defendants who post their bonds and the time to post those bonds, as opposed to the number of defendants released
   on pretrial status and their time to release, are better measures for more accurately determining pretrial jail bed use because once
   a bond is posted, the defendant is no longer utilizing a jail bed for pretrial reasons. The defendant may or may not remain in jail
   after bond-posting because of other cases or holds. However, for this study, like in most pretrial research, data on dates that bonds
   were posted were not available, so the next best measures for determining pretrial jail bed use - release on pretrial status and time
   to pretrial release - were used.




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Both Table 5 and Figure 1 show that judicial offi-                     risk levels never post their secured bond. This find-
cers used both unsecured and secured bonds with                        ing is expected because defendants who receive
defendants of all risk levels - higher risk, lower risk,               unsecured bonds, or their family or friends, do not
and those in between. For defendants at all risk lev-                  have to pay some monetary amount to the court or a
els, defendants with an unsecured bond were statis-                    commercial bail bondsman prior to the defendants’
tically significantly more likely to be released than                  release from jail custody. Secured bonds, however,
defendants with a secured bond.8                                       do require pre-release payment. Consequently, se-
                                                                       cured bonds used more jail beds. This finding is
Summary of Findings                                                    consistent with previous research using data from
                                                                       across the United States that shows that secured
Whether released defendants are higher or lower
                                                                       bond defendants are much more likely to be de-
risk or in-between, unsecured bonds enable more
                                                                       tained for their entire pretrial period than are un-
defendants to be released from jail than do secured
                                                                       secured bond defendants (Cohen & Reaves, 2007).
bonds. Findings show that many defendants of all



THE MONETARY AMOUNT OF SECURED BONDS AFFECTED PRETRIAL RELEASE RATES BUT NOT COURT
APPEARANCE RATES.
Table 6 shows the percentage of defendants who                         Frequency analyses revealed that when the se-
were released from jail on secured bonds of select                     cured bond amount was set relatively very low at
monetary amounts.                                                      $500 (12th percentile of secured bond amounts set
                                                                       by Colorado judicial officers in this study), 64% of
Table 6: Pretrial Release Rates by Secured Bond Amount                 defendants were released. When the secured bond
                                                                       amount was set at $5,000 (65th percentile of se-
  SECURED MONETARY               PERCENT (AND NUMBER)                  cured bond amounts), 58% of defendants were
    BOND AMOUNT                 OF RELEASED DEFENDANTS                 released. When the secured bond amount was
           $500                                                        set at $50,000 (97th percentile of secured bond
                                         64% (52/81)                   amounts), 49% of defendants were released. How-
     (12th Percentile)
                                                                       ever, correlational analyses revealed that the mon-
         $5,000
     (65th Percentile)
                                        58% (100/191)                  etary amount of posted secured bonds was not sta-
                                                                       tistically significantly related to court appearance
        $50,000                                                        for any of the four risk groups (p > 0.09).
                                         49% (37/76)
     (97th Percentile)




8 It is possible that the lower release rate for secured bond defendants could have been in part associated with judicial officers having
   accounted for an unmeasured risk factor in these defendants, and thus the public safety and court appearance rates would have been
   lower for these defendants had they been released. The mechanism for achieving this increase in pretrial detention would have been
   judicial officers setting secured bonds in a monetary amount the defendant could not post. Several judicial officers have told this
   author that this practice is not uncommon in Colorado, but have acknowledged its questionable lawfulness given Colorado’s consti-
   tutional and statutory law. Nonetheless, as indicated by this study’s analyses, if more secured bond defendants had been released,
   the secured bonds would likely not have associated with increased public safety or court appearance.




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Summary of Findings                                                             associated with more pretrial incarceration but not
As the monetary amount of secured bonds increases,                              more court appearances. The finding of increased
fewer defendants post their bonds. However, regard-                             incarceration associated with secured bonds is
less of whether defendants are higher or lower risk or                          consistent with previous research using data from
in-between, higher bond amounts are not associated                              across the United States: As the monetary amount
with better court appearance outcomes for released                              of secured bonds increases, the probability of release
defendants. Thus, higher secured bond amounts are                               decreases (Cohen & Reaves, 2007).



UNSECURED BONDS ALSO FREE UP MORE JAIL BEDS THAN DO SECURED BONDS BECAUSE DEFENDANTS WITH
UNSECURED BONDS HAVE FASTER RELEASE TIMES.
Table 7 shows the cumulative percent of defendants                              cured and secured bond groups by the amount of
who were released on pretrial status for the unse-                              time in jail that elapsed prior to pretrial release.

Table 7: Time to Pretrial Release by Bond Type


 DAYS TO PRETRIAL CUMULATIVE PERCENT OF DEFENDANTS RELEASED                                        CUMULATIVE PERCENT OF DEFENDANTS
    RELEASE*                ON UNSECURED BONDS                                                        RELEASED ON SECURED BONDS
       <1 to 1.9+                                   80% (325/404)                                                   58% (525/905)
       2 to 2.9+                                    83% (336/404)                                                    68% (611/905)
       3 to 3.9+                                    85% (344/404)                                                   73% (663/905)
       4 to 4.9+                                    86% (348/404)                                                   77% (699/905)
       5 to 5.9+                                    87% (351/404)                                                   80% (721/905)
       6 to 6.9+                                    88% (356/404)                                                    81% (731/905)
       7 to 7.9  +
                                                    88% (356/404)                                                   82% (741/905)
       8 to 8.9   +
                                                    89% (358/404)                                                   84% (758/905)
       9 to 9.9   +
                                                    89% (360/404)                                                   85% (768/905)
      10 to 10.9**                                  89% (360/404)                                                   86% (774/905)
      11 to 11.9**                                  89% (361/404)                                                   86% (781/905)
      12 to 12.9**                                  90% (362/404)                                                   87% (784/905)
  +
    All statistical comparisons were statistically significant. All p < 0.05.
  * Defendants across all risk categories were grouped together for this analysis because a defendant’s pretrial risk level can have no legal bearing
    on the amount of time a defendant remains in pretrial incarceration after a judicial officer sets the bond. In contrast, the monetary amount of a
    secured bond, holds from other jurisdictions, or requirements from a defendant’s other cases can affect whether and when the defendant can
    be released from jail even if the defendant has posted his bond, regardless of bond type and regardless of his pretrial risk level.
 ** Beginning on the tenth day of pretrial incarceration, the percent of defendants in the two bond type groups who had not been released
    on pretrial status was no longer statistically significantly different (p > 0.07). Because there was no significant difference after day 9, it was
    assumed for the purposes of this analysis that after day 9 other factors, such as the defendants’ other cases or possible holds, contributed
    to defendants’ continued pretrial incarceration to the degree that the bond type was no longer the primary factor contributing to continued
    pretrial incarceration. In addition, a t-test revealed that the average time to pretrial release for the unsecured bond group (0.7 days) was statisti-
    cally significantly lower than that for the secured bond group (1.5 days) when the analysis of pretrial incarceration was capped at 9 days for
    the reasons described above (p < 0.0001). The 9-day cap also makes it likely that the 1.5-day average for the secured bond defendants is an
    underestimate because 10 or more days may actually elapse before a defendant or his family can meet the court’s cash bond or bondsman’s
    surety bond requirements; however, this cap was derived from the best data available for this study. Moreover, the use of this average for the
    secured bond defendants is still sufficient for statistically demonstrating the increased jail use that results from secured bonds, and is sufficient
    for demonstrating practical significance for policy-making.




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Chi-square tests revealed that statistically signifi-                         Figure 2 depicts that released defendants with un-
cantly more defendants with unsecured bonds were                              secured bonds spent fewer days incarcerated on
released on pretrial status than were defendants                              pretrial status than did defendants with secured
with secured bonds for each of the first nine days                            bonds. Moreover, Figure 2 depicts:
after defendants’ bonds were set. A t-test revealed
that the average number of days spent in jail on                               • Five days of jail incarceration were required
pretrial status was statistically significantly less for                         for defendants with cash or surety bonds to
defendants with unsecured bonds than the average                                 achieve the same release threshold of 80% that
for defendants with secured bonds up to the first                                defendants with unsecured bonds experienced
nine days after defendants’ bonds were set.                                      by day one.
                                                                               • Ten days of jail incarceration were required for
The findings shown in Table 7 are illustrated in                                 defendants with cash or surety bonds to achieve
Figure 2.                                                                        the same overall release threshold as defendants
                                                                                 with unsecured bonds because there were statisti-
Figure 2: Time to Pretrial Release by Bond Type                                  cally significant differences for the first nine days.
   PERCENT OF DEFENDANTS RELEASED




                                    100                                       Summary of Findings
                                     95
                                                                              After judicial officers set defendants’ bonds, unse-
                                     90
                                                                V             cured bonds enable defendants to be released from
                                     85
                                     80                                       jail more quickly than do secured bonds. This find-
                                          80%         80%
                                     75                                       ing is expected because nearly all defendants who
                                     70                                       receive unsecured bonds can be released from cus-
                                     65                                       tody immediately upon signing their bond, whereas
                                     60                                       defendants with secured bonds must wait in cus-
                                     55                                       tody until they or a family member or friend nego-
                                     50                                       tiates a payment contract with a commercial bail
                                          1 2 3 4 5 6 7 8 9 10 11 12
                                              DAYS TO PRETRIAL RELEASE        bondsman or their family member or friend posts
                                                                              the full monetary amount of a cash bond at the jail.
                                                UNSECURED
                                                                              This finding indicates that the process of posting a
                                                SECURED
                                                                              secured bond takes much longer than the process of
                                                                              posting a unsecured bond for released defendants.
                                                                              Furthermore, this finding is consistent with pre-
Note. The V symbol denotes that after day 9, the difference
                                                                              vious research using data from across the United
in the percent of released defendants between the two
                                                                              States that shows released defendants with secured
groups was no longer statistically significant. The time
                                                                              bonds remained in jail longer than did released
at which the 80% threshold was achieved is indicated for
                                                                              defendants with bonds that did not require a pre-
both groups.
                                                                              release payment (Cohen & Reaves, 2007).




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UNSECURED BONDS ARE AS EFFECTIVE AS SECURED BONDS AT “FUGITIVE-RETURN” FOR DEFENDANTS WHO
HAVE FAILED TO APPEAR.
Table 8 shows the percent of defendants whose case                         study has been done in Colorado. This study failed
was still open up to 19 months after they were re-                         to find support for the commercial bail bond indus-
leased from jail and who were at-large because of                          try’s fugitive-return claim for defendants released
a failure to appear warrant, among all released de-                        on surety bonds because there was no difference
fendants who had failed to appear (i.e., the at-large                      in the percent of defendants who were released on
rate), for the unsecured and secured bond groups.                          surety bonds, who failed to appear, and who still
                                                                           had an open case, when compared to the percent
Table 8: At-Large Rate by Bond Type                                        of defendants who were released on unsecured
                                                                           bonds, who failed to appear, and who still had an
                         AT-LARGE RATE+*                                   open case. All defendants who had an open case at
     UNSECURED BOND                         SECURED BOND
                                                                           the time this study’s data collection was completed
                                                                           were at-large on a failure to appear warrant and
           10% (5/48)                          9% (15/174)                 not in jail custody. If commercial bail bondsmen or
 +
   The comparison was not statistically significantly different (p >       hired bounty hunters return defendants at a great-
    0.69). Non-significance was also found when data from just the
    surety bond defendants were compared to the unsecured bond             er rate than the rate for which defendants on un-
    defendants - that is, when the cash-only bond defendants were          secured bonds return to custody or court, then the
    removed from the secured bond group (p > 0.48).
 * There were too few at-large cases in each of the four risk categories   percent of at-large surety bond defendants would
    to permit analyses within each of the risk categories.                 be statistically significantly less than it is for un-
                                                                           secured bond defendants. That difference was not
Chi-square tests revealed that there were no statis-                       found in this study.
tically significant differences in defendants’ at-large
rates for the two different types of bond, as well as                      This study’s failure to find a fugitive-return benefit
for surety-bond-only defendants.                                           for one bond type over another is consistent with
                                                                           previous research designed to measure directly the
Summary of Findings                                                        fugitive-return function allegedly associated with
                                                                           surety bonds. Jones, Brooker, and Schnacke (2009)
When released defendants fail to appear, unse-
                                                                           found no empirical support for Colorado commer-
cured bonds offer the same probability of fugi-
                                                                           cial bail bondsmen’s claim that they locate or ap-
tive-return as do secured (including surety-only)
                                                                           prehend surety bond defendants who had failed to
bonds. Because the commercial bail bond indus-
                                                                           appear, as indicated by local jail booking data, the
try often claims that it locates and captures de-
                                                                           court’s bondsman-contact tracking logs, and by law
fendants who have failed to appear or who are
                                                                           enforcement officials’ report (p. 83).
fugitives on the run (see Professional Bail Agents
of the United States, 2013; Tabarrok, 2011), this
topic is discussed in detail.                                              Furthermore, in 2012 a committee that consisted
                                                                           of several justice system stakeholders and Colo-
                                                                           rado bail agents’ representatives studied Colorado
Nationally, the fugitive-return function has received
                                                                           pretrial case processing and decision-making for
minimal attention in the empirical research litera-
                                                                           a year. A portion of that review included discus-
ture, and no empirical research prior to the current
                                                                           sion about fugitive-return evidence in Colorado.




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Committee members acknowledged that there are                    turn defendants to jail, court, or to law enforce-
no data to support the bondsmen’s fugitive-return                ment officers in Colorado remains empirically un-
claim, and that the extent to which bondsmen re-                 demonstrated.9



MANY DEFENDANTS ARE INCARCERATED FOR THE PRETRIAL DURATION OF THEIR CASE AND THEN RELEASED TO
THE COMMUNITY UPON CASE DISPOSITION.
Because some judicial officers, sheriffs, and defense            Table 9: Never-Released Defendants by Case
attorneys have expressed concern or puzzlement to                Disposition
this author about their observation that apparently
many defendants spend the pretrial duration of                                                        PERCENT (AND NUMBER)
their case in custody, sometimes for several weeks                     CASE DISPOSITION                 OF DEFENDANTS OR
or months, and then are released to the community                                                          OFFENDERS*
upon conviction or sentencing, data on case dispo-                        Department of
                                                                                                                14% (79)
sitions were analyzed to determine the extent to                           Corrections
which this phenomenon occurs in Colorado.                          Jail, Work Release, or Time
                                                                                                               34% (194)
                                                                      Served in the Local Jail
Table 9 shows the collective percentage of never-
                                                                   Community-Based Option
released, secured-bond defendants by type of case                    (Diversion, Probation,
disposition from all 10 Colorado jurisdictions.                                                                37% (210)
                                                                    Community Corrections,
                                                                       Home Detention)
                                                                     Dismissed or Not Filed                     13% (76)
                                                                    Still Open or Had Some
                                                                                                                 2% (9)
                                                                         Other Sentence
                                                                                Total                         100% (568)
                                                                   * Each percentage changes 1% or less when unreleased defendants
                                                                     with recognizance bonds were included in the analysis.




9 See the Colorado Commission on Criminal and Juvenile Justice’s Bail Subcommittee’s March 2012 Meeting Minutes at http://www.
   colorado.gov/cs/Satellite/CDPS-CCJJ/CBON/1251617151523.




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Summary of Findings                                                gests that when judges and other decision-makers
These findings have implications for pretrial jail bed             consider the likelihood of a defendant’s conviction
use because 50% (37% + 13%) of defendants return                   and the most likely type of sentence, they can fur-
to the community upon conviction or case closure.10                ther reduce pretrial jail bed use by using more un-
This percentage increases to 84% (50% + 34%)                       secured bonds in lieu of secured bonds for defen-
when defendants who return to the community af-                    dants who will likely return to the community upon
ter completing a jail sentence (including those who                case disposition (i.e., for those defendants who are
received sentences for time served while in pretrial               not likely to be transported to the Department of
custody) are included. This pattern of findings sug-               Corrections to start a sentence).




10 With the exception of some defendants for whom another case results in continued detention.




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DISCUSSION AND IMPLICATIONS FOR POLICY MAKING
The findings from this study provide strong evi-        fewer jail resources. That is, more unsecured bond
dence that the type of monetary bond posted does        defendants are released than are secured bond de-
not affect public safety or defendants’ court appear-   fendants, and unsecured bond defendants have
ance, but does have a substantial effect on jail bed    faster release times than do secured bond defen-
use. Specifically, when posted, unsecured bonds         dants. The amount of the secured monetary bond
(personal recognizance bonds with a financial con-      was associated with increased pretrial jail use but
dition) achieve the same public safety and court        not increased court appearance. Finally, the type
appearance results as do secured (cash and surety)      of monetary bond did not affect the fugitive-return
bonds. This finding holds for defendants who are        rate as measured by the percent of cases with a fail-
lower, moderate, or higher risk for pretrial mis-       ure to appear warrant remaining open up to one-
conduct. However, unsecured bonds achieve these         and-a-half years later.
public safety and court appearance outcomes while
using substantially (and statistically significantly)




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THE TYPE OF BOND SET BY THE COURT HAS A DIRECT IMPACT ON THE AMOUNT OF JAIL BEDS CONSUMED, BUT
IT DOES NOT IMPACT PUBLIC SAFETY AND COURT APPEARANCE RESULTS.
A three-jurisdiction example demonstrates this                               their local jail resource very differently to achieve
study’s implications for jail bed use. If there were                         the same public safety and court appearance out-
three jurisdictions that use different rates of un-                          comes.11 Table 10 demonstrates this scenario.
secured and secured bonds, they each would use

Table 10: Differential Jail Bed Use Resulting from Different Bond Setting Practices in Three Jurisdictions


                                                                                    PRETRIAL
                                                                PRETRIAL
                                               PERCENT                                BEDS           TOTAL
                            PERCENT OF                            BEDS                                              PUBLIC         COURT
                                                  OF                                NEEDED          PRETRIAL
    JURISDICTION            UNSECURED                          NEEDED FOR                                           SAFETY       APPEARANCE
                                               SECURED                                FOR             BEDS
                              BONDS                            UNSECURED                                            RATE**          RATE**
                                                BONDS                               SECURED         NEEDED*
                                                                BONDS*
                                                                                    BONDS*
         Status
                                 31%              69%                34                430             464            79%              83%
         Quoa
      Moderate
                                 61%              39%                67                243             310            79%              83%
     Unsecuredb
       High
                                 91%               9%               100                 56             156            79%              83%
     Unsecuredc
 c. The “Status Quo” jurisdiction’s use of unsecured bonds was selected to be the same as the average unsecured bond use in the 10 jurisdictions
    that contributed data to this study (see Table 2).
 d. The “Moderate Unsecured” jurisdiction’s percent of unsecured bonds was selected to be 30 percentage points higher than that of the Status
    Quo jurisdiction and centered between the other two jurisdictions. Its bond type percentages are nearly the inverse of the Status Quo jurisdic-
    tion.
 e. The “High Unsecured” jurisdiction’s percent of unsecured bonds was selected to be 30 percentage points higher than that of the Moderate
    Unsecured jurisdiction. It also uses nearly the same percent of unsecured bonds as there are defendants in the three lowest Colorado Pretrial
    Assessment Tool (CPAT) risk categories (i.e., categories 1, 2, and 3). This would approximately be the case, for example, if a jurisdiction were
    to use unsecured bonds for defendants whose pretrial risk score is in CPAT risk categories 1 through 3 and use secured bonds for defendants
    whose pretrial risk score is in CPAT risk category 4.
 * Per 10,000 defendants booked into jail on new charges.
 ** The public safety rate of 79% and the court appearance rate of 83% were averages for all 1,309 released defendants, regardless of their bond
    type or risk level.



As seen in Table 10, secured bonds require more                              tention for every 10,000 defendants booked into jail
jail beds than do unsecured bonds when a rela-                               on new charges, whereas the Moderate Unsecured
tively high number (69% or 39%) of secured bonds                             jurisdiction would need 310 jail beds allocated for
are used. In particular, the Status Quo jurisdiction                         pretrial detention for this same pool of defendants.
would need 464 jail beds allocated for pretrial de-




11 The average length of time that defendants spent in detention for pretrial reasons (calculated for this study as 0.7 days for unse-
   cured bond defendants and 1.5 days for secured bond defendants) and the average length of time of 58 days for all in-custody cases
   to close were used to calculate the number of beds that defendants would use. See Cunniff (2002) for the formulas used (p. 30).




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The Status Quo jurisdiction’s higher amount of jail                jurisdictions because fewer defendants remain in-
bed use is caused by fewer secured bond defendants                 carcerated, and when defendants are released, they
being released and when they are released, taking                  are released much more quickly.
more time to do so when compared to unsecured
bond defendants (refer back to Tables 5 and 7).                    In summary, the High Unsecured jurisdiction
                                                                   achieves the same court appearance and public
In contrast, the High Unsecured (i.e., high use of                 safety outcomes as does the Status Quo jurisdiction,
personal recognizance bonds) jurisdiction would                    but does so while reserving 197% more jail beds
need only 156 jail beds allocated for pretrial deten-              for other purposes (e.g., incarcerating sentenced
tion for every 10,000 defendants booked into jail                  inmates, reducing jail expenses by closing one or
on new charges. In this jurisdiction, more jail beds               more housing sections). Similarly, the Moderate
are actually required for unsecured bond defen-                    Unsecured jurisdiction achieves the same court ap-
dants than for secured bond defendants because                     pearance and public safety outcomes as does the
of the very high volume of unsecured bond defen-                   High Unsecured jurisdiction, but consumes twice
dants. However, this jurisdiction uses substantially               as many jail beds while doing so.
fewer pretrial jail beds overall than do the other two



JURISDICTIONS CAN MAKE DATA-GUIDED CHANGES TO LOCAL PRETRIAL CASE PROCESSING THAT WOULD
ACHIEVE THEIR DESIRED PUBLIC SAFETY AND COURT APPEARANCE RESULTS WHILE RESERVING MORE JAIL BEDS
FOR UNMANAGEABLY HIGH RISK DEFENDANTS AND SENTENCED OFFENDERS.
Criminal justice policy-makers, such as judges,                    pretrial practices to be consistent with Colorado’s
sheriffs and jail administrators, district attorneys,              new bail statute enacted in May of 2013.13
defense attorneys, and county commissioners or
city council members, in each local jurisdiction                   It will be important for local decision-makers to
(e.g., county or city-county) could benefit from con-              collaborate to hold each other accountable to maxi-
vening to discuss and analyze their current prac-                  mize their desired public safety, court appearance,
tices and to identify opportunities for improving                  and jail bed use outcomes. Judges, sheriffs, district
their pretrial practices. Colorado jurisdictions use               attorneys, and other justice system decision-mak-
secured money bonds for over two-thirds (69%) of                   ers desire to achieve the highest levels of public
their cases. However, this study provides compel-                  safety and court appearance as possible, and they
ling evidence that the same level of public safety                 rely on county commissioners and legislators to
and court appearance that these jurisdictions ex-                  provide them with the resources (e.g., jail and court
perience today can be achieved at considerably                     facilities, staff, programs) to make those outcomes
lower costs to taxpayers who fund local jails, and                 possible. Similarly, county commissioners or legis-
this finding occurs for defendants of all risk levels.12           lators fund the jail and program resources, and they
Moreover, this study’s findings provide empirical                  rely on judges and other system decision-makers to
support for a Colorado jurisdiction changing its                   engage in effective practices that most efficiently




12 T
    he higher financial cost to each local jail created by the use of secured bonds can be demonstrated whether short-run marginal
   costs and/or step-fixed costs are used in cost calculations (see Henrichson & Galgano, 2013).

13 See House Bill 13-1236 at http://www.leg.state.co.us/.




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use those resources. This study indicates that Colo-                   this decision-making scenario, defendants’ risk for
rado jurisdictions have the opportunity to be much                     pretrial misconduct would be known prior to de-
more effective and efficient with the pretrial use                     fendants’ release from custody, and all released de-
of local jails by using an empirically-based risk as-                  fendants would have a personal recognizance bond
sessment instrument such as the Colorado Pretrial                      with a financial condition that the court could en-
Assessment Tool and by maximally using personal                        force if the defendant were to fail to appear.
recognizance bonds with a financial condition. In



COLORADO JUDICIAL OFFICERS NOW HAVE DATA AND LAW TO SUPPORT CHANGING THEIR BAIL SETTING
PRACTICES TO BE AS EFFECTIVE BUT MUCH MORE EFFICIENT.
This study does not address the question of wheth-                     The new statute and this study’s findings also
er or when judicial officers should use monetary                       converge to imply two features of a money bond
bonds or not use them (i.e., bonds with a financial                    schedule if a jurisdiction’s decision-makers choose
condition or bonds with no financial condition).                       to have one: (1) The schedule should have the de-
That is a research question beyond the scope of                        fendant’s risk integrated into the formula that is
this study and is not currently relevant in Colorado,                  to guide or determine a specific monetary amount
given that statute requires all bonds to have a fi-                    of bond for each individual defendant; and (2) the
nancial condition. Rather, this study’s results, com-                  scheduled monetary amounts should only be used
bined with the new bail statute enacted in May of                      for financial conditions associated with recogni-
2013, provide Colorado judicial officers with both                     zance bonds and not for cash or surety bonds. If
empirical and legal justification for changing their                   these two features are not incorporated and inte-
bail setting practices to achieve their desired levels                 grated into money bail bond schedules and pretrial
of public safety and court appearance while incar-                     decision-making, then the jurisdiction is likely to
cerating only higher risk individuals and no longer                    achieve its desired public safety and court appear-
incarcerating lower risk defendants who cannot                         ance outcomes while failing to minimize pretrial
pay their cash or surety bonds. The pretrial release                   detention because of the number of lower risk de-
mechanism created in Colorado’s new bail statute                       fendants who will be incarcerated for their lack of
for achieving all of these outcomes simultaneously                     pre-release financial resources.
are personal recognizance bonds with an unsecured
financial condition found in Colorado Revised Stat-                    This study shows that defendants who are released
utes Sections 16-4-104(1) (a) and (b). These bonds                     from jail on personal recognizance bonds with a
are the only ones in Colorado that simultaneously                      financial condition return to court and avoid new
(1) allow judicial officers to set an amount of money                  charges at the same rate as do defendants who bond
that they believe may give defendants sufficient in-                   out on cash or surety bonds, and they are as un-
centive to return to court, and (2) do not prevent                     likely to remain at-large on fugitive status. None-
those defendants’ release because the amount is too                    theless, as one pretrial legal scholar has proposed
high for them or their family or friends to post.14                    (T. Schnacke, personal communication, August 1,

14 The Colorado Commission on Criminal and Juvenile Justice’s Bail Subcommittee discussed the possibility that defendants are more
   likely to appear in court when they have “skin in the game” because of a financial condition of their bond (see http://www.colorado.
   gov/cs/Satellite/CDPS-CCJJ/CBON/1251617151523). Several justice system decision-makers in other states have suggested the
   same to this author. This study could not test this hypothesis; however, this study does provide empirical support that if defendants
   are more likely to appear in court because of a financial condition, this “motivation” is achieved just as effectively with a personal
   recognizance bond with a financial condition than it is with a cash or surety bond, but without the accompanying unnecessary
   pretrial jail bed use.




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2013), even if the fugitive-return rate were some                      Finally, the pretrial decision-making supported by
degree higher for surety bond defendants than for                      this study and the new statute has a precedent in
unsecured bond defendants, criminal justice de-                        Colorado. In early 2010 during Jefferson County’s
cision-makers in each jurisdiction would need to                       Bail Impact Study, which was a pilot project in which
decide if this gain offsets other costs. Specifically,                 judges set more recognizance bonds with the support
if commercial bail bondsmen were to return defen-                      from the local criminal justice coordinating commit-
dants to custody sooner than law enforcement does,                     tee, a First Judicial District Court Judge set personal
these cases could be closed more quickly. However,                     recognizance bonds with a financial condition for
this benefit needs to be weighed against the high                      75% of defendants who appeared before him at ini-
financial cost the local justice system incurs from                    tial advisement. This Bail Impact Study, among ini-
the pretrial jail bed use that results from the large                  tiatives in other jurisdictions and an earlier version
percent of surety bond defendants who are never                        of the research done for this paper, ultimately led to
released from jail or who take much longer to be                       the introduction and passage of House Bill 13-1236,
released when they are released.                                       which rewrote Colorado’s bail statute to encourage
                                                                       more recognizance releases and to reduce unneces-
                                                                       sary pretrial detention while still emphasizing public
                                                                       safety and court appearance.15



THIS STUDY’S FINDINGS ARE LIKELY MORE GENERALIZABLE TO JURISDICTIONS THAT USE BOND SETTING
PRACTICES SIMILAR TO THOSE USED IN COLORADO.
Colorado jurisdictions’ pretrial case processes are                    controls for defendants’ pretrial risk level, allow for
very similar to one another and are typical of the pro-                methodologically sound bond-type comparisons on
cesses used nationwide. When defendants are booked                     public safety, court appearance, and jail bed use.
into jail, typically within a day or two most of them
have the opportunity to leave custody after posting                    Finally, research methods similar to those used in
their bond via a money bail bond schedule or after                     this study should be replicated in jurisdictions out-
first appearing before a judicial officer. Colorado judi-              side of Colorado to determine to what extent similar
cial officers use unsecured, cash, and surety bonds in                 findings emerge. Criminal justice officials in many
varying proportions, but not in a “sequential’ manner                  jurisdictions outside of Colorado also heavily rely on
as is done in some jurisdictions. For example, Dallas                  secured money bonds without any data showing the
County’s (Texas) use of non-financial release occurs                   effect, pro or con, of these secured bonds on all three
almost exclusively in instances when defendants can-                   pretrial outcomes simultaneously. These decision-
not first post their secured bond (L. Gamble, personal                 makers could likely improve the efficiency of their
communication, March 4, 2013). In Colorado, judicial                   systems without detriment to their public safety and
officers order unsecured bonds regardless of defen-                    court appearance outcomes by using more recogni-
dants’ initial ability to post a secured bond. This non-               zance bonds with a financial condition in lieu of cash
sequential use, combined with this study’s statistical                 or surety bonds.16

15 See C.R.S. 16-4-103(4) (c) (2013), “The Court shall . . . consider all methods of bond and conditions of release to avoid unnecessary
    pretrial incarceration.”

16 As previously noted, the effect on court appearance of recognizance bonds that have no financial condition compared to unsecured
   or secured bonds could not be examined in this study. If studies show that recognizance bonds with no financial condition out-
   perform unsecured or secured bonds, then they would provide an effective release option for jurisdictions that seek, voluntarily or
   through statute or court rule, to impose the least restrictive conditions that assure public safety and/or court appearance.




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